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        Exhibit A
                      Case 2:12-md-02323-AB Document 9885-2 Filed 04/13/18 Page 2 of 3


Scott George

From:                                           David Langfitt <dlangfitt@lockslaw.com>
Sent:                                           Tuesday, September 26, 2017 11:15 AM
To:                                             Scott George
Cc:                                             Chris Seeger; Gene Locks; Michael Rosenberg; Steven C Marks; Matt Weinshall
Subject:                                        Re: Draft
Attachments:                                    DDL tracked changes to S. George Opposition to X1Law Motion.doc



Gentlemen: We like what you wrote. Attached are LLF's suggested changes to the opposition brief in tracked
changes format. We do not think these are controversial but, rather, adhere to the plain language of the
Agreement and BrownGreer's role. Our edits to FN7 might give the NFL counsel or Seeger Weiss heartburn,
but we do not think it should. If it does, we suggest the following compromise: delete the last sentence of FN7
in its entirety or delete the entire footnote as not necessary. Please let me know your thoughts. David


David Langfitt, Partner
e. dlangfitt@lockslaw.com
t. 215.893.3423
c. 610.787.1706
  Admitted to Practice in NJ, PA
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The Curtis Center
601 Walnut St. | Suite 720 East
Philadelphia, PA 19106
(215) 893-0100 (Phone) | (215) 893-3444 (Fax)

801 North Kings Hwy.
Cherry Hill, NJ 08034
(856) 663-8200 (Phone) | (856) 661-8400 (Fax)

800 Third Ave. | 11th Floor
New York, NY 10022
(212) 838-3333 (Phone) | (212) 838-3735 (Fax)
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On Mon, Sep 25, 2017 at 4:40 PM, Scott George <sgeorge@seegerweiss.com> wrote:
 Please refer to the attached version instead.

 Scott George
 Seeger Weiss LLP

 -----Original Message-----
                                                                                   1
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From: Scott George
Sent: Monday, September 25, 2017 2:29 PM
To: 'David Langfitt'
Cc: Chris Seeger; Gene Locks; Michael Rosenberg; STEVEN C. MARKS
Subject: RE: Draft

Sure. Here is the current draft.

Scott George
Seeger Weiss LLP

-----Original Message-----
From: David Langfitt [mailto:dlangfitt@lockslaw.com]
Sent: Monday, September 25, 2017 12:30 PM
To: Scott George
Cc: Chris Seeger; Gene Locks
Subject: Draft

Hello Scott: As per our agreement and understanding, may we see a draft of the response to the Tighe motion
as soon as possible? Many thanks, David

David Langfitt
215-893-3423-w
610-787-1706-c




                                                     2
